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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE                                Civil Action No. 17-cv-11633
 COMMISSION,

                        Plaintiff,

        v.

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,

                        Defendants




                  DEFENDANTS’ MOTION FOR LEAVE TO FILE SUR-REPLY
                       TO PLAINTIFF’S REPLY TO DEFENDANTS’
                   OPPOSITION TO PLAINTIFF’S MOTION FOR ENTRY OF
                             FINAL JUDGMENT (DKT#281)


       Defendants request leave to file a Sur-Reply to Plaintiff’s Reply Memorandum in Support

of Plaintiff’s Motion for Entry of Final Judgment. (DKT#281) A sur-reply is required because

Plaintiff, in its Reply, has mischaracterized the evidence, the law and the disgorgement

calculation, if any, that might be legally allowable, and prejudgment interest, if any, that might

be allowable.

       For example, no disgorgement is authorized by law for “violation” of 206(1) and 206(2)

of the Investment Advisers Act, particularly where there have been no ill-gotten gains and no

harm to the investors and no return (restitution) by the SEC of the requested “disgorgement” to



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the investors. The SEC refuses to acknowledge that whether disgorgement is an authorized

remedy is pending in the United States Supreme Court. (Liu v. Securities and Exchange

Commission 140 S. Ct. 451 (2019)) The SEC is seeking $22,450,952 in “disgorgement” in its

Motion for Entry of Final Judgment. This Court should await the Supreme Court’s decision on

whether it even has authority to grant “disgorgement” before ruling on the SEC’s motion.

Momenta Pharmaceuticals v. Amphastar 323 F Supp. 3d 142, 147 (D. Mass. 2018); Marshel v.

AFW Fabric Corp 552 F2d. 471, 482 (2nd Cir. 1977); Bechtel Corp. v. Local 215 Laborers Intn’l

Union 544 F2d. 1207, 1215 (3rd Cir. 1976); Beydoun v. Holder 2015 WL 631948 at *3-4 (E.D.

Mich. Feb 13, 2015)

       Second, the SEC’s calculation of disgorgement is completely inaccurate and grossly

overstated. The SEC refuses to acknowledge its own admissions and the fact that in its

calculation of “disgorged” advisory fees, is limited to disgorgement of fees obtained from only

clients who invested in Vireo Allocator and Vireo Premium strategies and who became clients

for those two strategies between August 10, 2011 and September 14, 2012, i.e., the clients who

received the marketing materials containing the allegedly “false” statements. The maximum

amount of “disgorgement” of fees from those clients is $228,856.

       Likewise, the SEC’s reply memorandum misleads as to the law and refuses to

acknowledge that its calculation of “disgorgement” for the $14 million sale is not legally

allowable (Kokesh v. SEC 137 S. Ct. 1635, 1644 (2017)) and is not causally connected to the

alleged violation (SEC v. MacDonald 699 F2d. 47, 54) or that even if some part of the goodwill

were disgorgeable, the amount could only be of the portion causally connected to the violation,

i.e., the percentage of goodwill that represented clients that were “misled” by the “false”

marketing materials, which would, at most, be 3.28% of the $14 million, i.e., $459,356.

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       Defendants also request leave to file a short sur-reply to notify the Court that they are

moving to stay any decision by this Court on remedies and/or final judgment pending the United

States Supreme Court’s decision in Liu v. Securities and Exchange Commission 140 S. Ct. 451

(2019). See Marshel v. AFW Fabric Corp. 552 F2d. 471, 472 (2d Cir. 1977) and because this

Court lacks jurisdiction to rule on the SEC’s Motion for Entry of Final Judgment due to the

pending appeal of this case in the First Circuit [SEC v. Louis Navellier No. 20-1437] United

States v. George 841 F3d 55, 71-72 (1st Cir. 2016) [once notice of appeal is filed, district court is

divested of jurisdiction to enter forfeiture order]; Griggs v. Provident Consumer Discount Co.

459 U.S. 56, 58 (1982)

       Defendants’ counsel met and conferred with Plaintiff’s counsel by telephone to obtain

non opposition to Defendants’ request for leave to file a sur-reply but could not reach such

agreement. Nor would the SEC’s counsel agree to the SEC not opposing Defendants’ proposed

request for stay on this Court’s ruling on the SEC’s Motion for Entry of Final Judgment.




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                                   Respectfully submitted,




DATED: April 29, 2020   LAW OFFICES OF SAMUEL KORNHAUSER
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                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       Pursuant to Local Rule 7.1, the undersigned met and conferred on April 29, 2020 with

Plaintiff’s counsel by telephone to request a stipulation or a non-opposition regarding

Defendants’ request to file a sur reply brief and request to stay ruling on Plaintiff’s Motion for

Entry of Final Judgment. In good faith, counsel were unable to resolve these issues.




DATED: April 29, 2020          LAW OFFICES OF SAMUEL KORNHAUSER



                                              By:     /s/ Samuel Kornhauser
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                                 CERTIFICATE OF SERVICE

       I certify that on April 29, 2020, a copy of the foregoing was electronically filed through

the ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: April 29, 2020                                 /s/ Dan Cowan
                                                          Dan Cowan




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